Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 1 of 42 PageID #: 1872



                              UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF INDIANA


  MICHAEL KUEBLER, Individually and on              Cause No. 3:18-cv-00113
  Behalf of All Others Similarly Situated,
                                                    CONSOLIDATED AMENDED CLASS
                            Plaintiff,
                                                    ACTION COMPLAINT
                 v.
                                                    DEMAND FOR JURY TRIAL
  VECTREN CORPORATION, CARL L.
  CHAPMAN, DERRICK BURKS, JAMES H.                      1. VIOLATIONS OF SECTION 14(a)
  DEGRAFFENREIDT, JR., JOHN D.                             OF THE SECURITIES EXCHANGE
  ENGELBRECHT, ANTON H. GEORGE,                            ACT OF 1934 AND RULE 14a-9
  ROBERT G. JONES, PATRICK K.
  MULLEN, R. DANIEL SADLIER,
  MICHAEL L. SMITH, TERESA J.                           2. VIOLATIONS OF SECTION 20(a)
  TANNER, and JEAN L. WOJTOWICZ,                           OF THE SECURITIES EXCHANGE
                                                           ACT OF 1934
                            Defendants.




         Lead plaintiffs Michael Kuebler, James Danigelis, and Michael Nisenshal (“Plaintiffs”),

  on behalf of themselves and all others similarly situated, by and through their attorneys, allege the

  following upon information and belief (including the investigation of counsel, consultation with a

  financial expert, and review of publicly-available information), except as to those allegations

  pertaining to Plaintiffs, which are alleged upon personal knowledge:

                                    NATURE OF THE ACTION

         1.      This is a class action brought by Plaintiffs on behalf of themselves and the other

  common shareholders of Vectren Corporation (“Vectren” or the “Company”), except Defendants

  (defined below) and their affiliates, against Vectren and the members of Vectren’s board of

  directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

  20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15.U.S.C. §§ 78n(a), 78t(a),
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 2 of 42 PageID #: 1873



  and SEC Rule 14a-9, 17 C.F.R. 240.14a-9, in connection with CenterPoint Energy, Inc.’s

  (“CenterPoint”) acquisition of Vectren (the “Merger”).

         2.      On April 21, 2018, the Board caused the Company to enter into an agreement and

  plan of merger (the “Merger Agreement”) with CenterPoint, pursuant to which Vectren

  shareholders will receive $72.00 in cash for each share of common stock they own (the “Merger

  Consideration”). On, July 16, 2018, the Board authorized the filing of a materially incomplete and

  misleading definitive proxy statement (the “Proxy”) with the Securities and Exchange Commission

  (“SEC”), in violation of Sections 14(a) and 20(a) of the Exchange Act. While Defendants touted

  the fairness of the Merger Consideration to the Company’s stockholders in the Proxy, they failed

  to disclose material financial information that was necessary for stockholders to properly recognize

  the inadequacy of the Merger Consideration, thereby rendering certain statements in the Proxy

  misleading.

         3.      Rule 14a-9(a) prohibits proxy statements from: (i) containing any statement which,

  at the time and in the light of the circumstances under which it is made, is false or misleading with

  respect to any material fact; and (ii) omitting any material fact necessary in order to make the

  statements therein not false or misleading or necessary to correct any statement in any earlier

  communication with respect to the solicitation of a proxy for the same meeting or subject matter

  which has become false or misleading. 17 C.F.R. § 240.14a-9(a).

         4.      When corporate actors voluntarily elect to speak regarding projections and

  valuation-related information, they assume an obligation to do so in a complete and accurate

  manner. When it comes to disclosing projections and valuation information, a company may

  choose silence or speech elaborated by the factual basis as then known—but it may not choose

  incomplete half-truths. If one speaks on a topic, he is bound not only to state the truth, but also




                                                   2
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 3 of 42 PageID #: 1874



  not to suppress or conceal any facts within his knowledge which will materially qualify those

  stated; if he speaks at all, he must make a full and fair disclosure. The selective disclosure of

  projections and valuation information is inherently misleading because, by providing only a partial

  “summary” of projections or valuation analyses, shareholders are unable to properly assess the

  overall valuation picture of a company or transaction. Disclosing only a subset of available

  financial information, while withholding another subset of distinct financial information that alters

  the overall valuation picture created by the disclosed numbers, is misleading.

         5.      Here, the Defendants withheld two pieces of critical financial information, without

  which, it was impossible for Vectren shareholders to properly value their shares. First, the Proxy

  entirely omitted projections for the standalone unlevered, after-tax free cash flows that Vectren

  was forecasted to generate during fiscal years 2018 through 2027, which were based on Company

  management’s forecasts (the “Cash Flow Projections”). See Proxy at 37. Second, the Proxy

  omitted the financial projections for each of Vectren’s three main business lines—gas, electric,

  and non-regulated—on an individual basis (the “Business Segment Projections”). The Business

  Segment Projections were analyzed by the Company’s financial advisor, Merrill Lynch, Pierce,

  Fenner & Smith Incorporated (“BofA Merrill Lynch”), and formed the basis for its valuation

  analyses, but were withheld from shareholders. Indeed, it would have been impossible for BofA

  Merrill Lynch to perform its valuation analyses in the manner that it did without Business Segment

  Projections as opposed to the consolidated projections that were included on page 40 of the Proxy

  (“Consolidated Projections”). See Summary of Initial Findings of M. Travis Keath (Exhibit 1

  hereto) at ¶¶ 21-28.

         6.      The omission of the Cash Flow Projections and the Business Segment Projections

  rendered the following two portions of the Proxy misleadingly incomplete: (i) the summary of the




                                                   3
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 4 of 42 PageID #: 1875



  Discounted Cash Flow Analysis (“DCF”) performed by BofA Merrill Lynch on pages 37-38 of

  the Proxy; and (ii) the summary of Vectren’s Consolidated Projections on page 40 of the Proxy.

          7.      On August 28, 2018, Vectren held a special meeting of shareholders to vote on the

  Merger. The Merger was narrowly approved by a mere 61% of the Company’s outstanding shares.

  The Merger is currently expected to close in the first quarter of 2019. Shareholders were not

  adequately informed when they voted to approve the Merger, because the Proxy omitted the

  material information and contained the misleading statements discussed herein, which impeded

  shareholders from recognizing the inadequacy of the Merger Consideration. The materially

  incomplete and misleading Proxy was an essential link in the forthcoming Merger, as the Merger

  could not be consummated without shareholder approval, which in turn could not have been

  obtained without the misleading Proxy.

          8.      For these reasons, as set forth in detail herein, Plaintiffs assert claims against

  Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act. Plaintiffs seek to

  recover damages resulting from the Defendants’ violations of the Exchange Act.

                                    JURISDICTION AND VENUE

          9.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

  Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331, federal question jurisdiction, as Plaintiffs allege

  violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

          10.     Personal jurisdiction exists over each Defendant either because the Defendant

  conducts business in or maintains operations in this District, or is an individual who is either

  present in this District for jurisdictional purposes or has sufficient minimum contacts with this

  District as to render the exercise of jurisdiction over defendant by this Court permissible under

  traditional notions of fair play and substantial justice.




                                                     4
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 5 of 42 PageID #: 1876



          11.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

  78aa, as well as under 28 U.S.C. § 1391, because: (i) the conduct at issue took place and had an

  effect in this District; (ii) Vectren is incorporated in this District; (iii) a substantial portion of the

  transactions and wrongs complained of herein occurred in this District; and (iv) Defendants have

  received substantial compensation in this District by doing business here and engaging in

  numerous activities that had an effect in this District.

                                                 PARTIES

          12.     Plaintiffs are, and have been at all relevant times, the owners of Vectren common

  stock and held such stock since prior to the wrongs complained of herein.

          13.     Defendant Vectren is an Indiana Corporation with its principal executive offices

  located at One Vectren Square, 211 N.W. Riverside Drive, Evansville, Indiana 47708. Vectren is

  an energy holding company of its wholly owned subsidiary, Vectren Utility Holdings, Inc., which

  serves as the intermediate holding company for three public utilities: Indiana Gas Company, Inc.,

  Southern Indiana Gas and Electric Company, and Vectren Energy Delivery of Ohio, Inc. Vectren’s

  common stock trades on the NASDAQ under the symbol “VVC.”

          14.     Individual Defendant Carl L. Chapman is a director of Vectren, the President and

  Chief Executive Officer of the Company, and the Chairman of the Board.

          15.     Individual Defendant Derrick Burks is, and has been at all relevant times, a director

  of Vectren.

          16.     Individual Defendant James H. DeGraffenreidt, Jr. is, and has been at all relevant

  times, a director of Vectren.

          17.     Individual Defendant John D. Engelbrecht is, and has been at all relevant times, a

  director of Vectren.




                                                      5
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 6 of 42 PageID #: 1877



         18.      Individual Defendant Anton H. George is, and has been at all relevant times, a

  director of Vectren.

         19.      Individual Defendant Robert G. Jones is, and has been at all relevant times, a

  director of Vectren.

         20.      Individual Defendant Patrick K. Mullen is, and has been at all relevant times, a

  director of Vectren.

         21.      Individual Defendant R. Daniel Sadlier is, and has been at all relevant times, a

  director of Vectren.

         22.      Individual Defendant Michael L. Smith is, and has been at all relevant times, a

  director of Vectren.

         23.      Individual Defendant Teresa J. Tanner is, and has been at all relevant times, a

  director of Vectren.

         24.      Individual Defendant Jean L. Wojtowicz is, and has been at all relevant times, a

  director of Vectren.

         25.      The defendants identified in paragraphs 13-24 are collectively referred to as the

  “Defendants”.

                                 SUBSTANTIVE ALLEGATIONS

  I.     The Flawed Sales Process and Inadequate Merger Consideration

         26.      Prior to announcing the Merger on April 23, 2018, Defendants conducted a flawed

  strategic review process that failed to obtain fair consideration for Vectren’s common

  shareholders.

         27.      First, Defendants required interested bidders to enter into confidentiality and

  standstill agreements. The standstill component of such agreements obligate bidders to refrain




                                                  6
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 7 of 42 PageID #: 1878



  from various actions that would enable them to make a superior offer directly to a company’s

  shareholders. There is no indication that any of the interested bidders were released from their

  standstill obligations upon the announcement of the Merger, as is customary when a board is truly

  trying to maximize shareholder value.

         28.     Furthermore, on February 21, 2018, certain bidders submitted indications of

  interest that were higher than the $72.00 per share Merger Consideration the Defendants ultimately

  accepted. Specifically, an entity referred to in the Proxy as “Bidder A” proposed a price of $72.50

  per share with up to 83% of the consideration in cash and the remainder in common stock of Bidder

  A, and an entity referred to in the Proxy as “Bidder B” submitted an indication of interest at an all

  cash price range of $73.00 to $75.00.

         29.     Thereafter, on April 6, 2018, consistent with prior instructions from BofA Merrill

  Lynch regarding the submission of definitive bids, CenterPoint Energy and Bidder A each

  submitted definitive offers to acquire the Company. Bidder A offered to acquire the Company for

  $70.50 per share with a consideration mix of 83% cash and 17% common stock of Bidder A. The

  common stock portion of the consideration included in Bidder A’s proposal was subject to a collar

  of plus or minus 5.0% based on fluctuations in the price of Bidder A’s common stock between the

  date a merger agreement was signed and closing. CenterPoint Energy proposed acquiring the

  Company for $70.00 per share, all cash.

         30.     Defendants proceeded to focus on negotiating terms of the Merger Agreement that

  directly inured to their benefit rather than the Company’s public shareholders. For example, on

  April 10, 2018, counsel for Defendants sent revised drafts of the merger agreement to each of

  CenterPoint Energy and Bidder A. In the revised draft sent to CenterPoint Energy, the Company

  counter-proposed that all performance-based equity awards be cashed out at the greater of target




                                                   7
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 8 of 42 PageID #: 1879



  and actual performance. Defendants also proposed that CenterPoint Energy appoint at least one

  former Company director to CenterPoint Energy’s board of directors upon closing of the Merger.

         31.     On April 11, 2018, CenterPoint’s Chief Executive Officer indicated to Mr.

  Chapman that CenterPoint was willing to keep the headquarters of the combined company’s gas

  operations in Evansville for a minimum of three years.

         32.     Also on April 11, 2018, the Company received a revised draft of Bidder A’s

  proposed form of merger agreement from Bidder A’s counsel. In this draft, Bidder A improved

  the collar on the stock price component of its offer from 5.0% to 7.5%. Bidder A also accepted

  Vectren’s proposed 2.5% termination fee payable by the Company and the 4% fee payable by

  Bidder A in the event of a regulatory failure.

         33.     On April 12, 2018, Bidder A sent the Company a letter indicating that it was

  prepared to increase the price of its proposal to $71.00 per share. The consideration mix was

  unchanged.

         34.     On April 14 and 15, 2018, representatives of BofA Merrill Lynch spoke with

  CenterPoint Energy and Bidder A. BofA Merrill Lynch requested that each bidder present its “best

  and final” proposal by April 16, 2018 and indicated that the Company intended to select a preferred

  bidder based on the revised proposals. That representation turned out to be false, as the Defendants

  authorized their representatives to continue negotiating with CenterPoint Energy after the final bid

  deadline, while they made no further efforts to engage with Bidder A to improve its offer.

         35.     Specifically, on April 16, 2018, CenterPoint Energy and Bidder A submitted

  revised offers to acquire the Company. Bidder A continued to offer $71.00 per share, with 83%

  of the consideration in cash and 17% in common stock of Bidder A. The stock portion of the

  consideration was subject to a 7.5% collar based on fluctuation in the price of Bidder A’s common




                                                   8
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 9 of 42 PageID #: 1880



  stock between the date a merger agreement was signed and closing. CenterPoint Energy offered

  $71.50 per share, with the consideration being all cash. CenterPoint Energy also submitted a

  revised draft of the merger agreement with its revised bid. In this draft, CenterPoint Energy

  proposed revised terms with respect to compensation and equity awards for Company officers and

  employees.

         36.     Despite the fact that the Defendants had set April 16th as the “best and final offer”

  deadline, and that they explicitly recognized “the terms of the merger agreement proposed by

  CenterPoint Energy were not as favorable as those proposed by Bidder A,” presumably because

  of the value of the stock-component of Bidder A’s offer which would have enabled Vectren

  shareholders to maintain an equity interest in the combined company and reap the associated

  benefits, the Defendants authorized their representatives to continue discussions with CenterPoint

  Energy after the final bid deadline and made no further efforts to engage with Bidder A. In other

  words, even though Bidder A’s “best and final” proposal had been deemed more favorable, the

  Defendants proceeded to continue negotiations with CenterPoint after the final bid deadline they

  had set. The “best and final” offer deadline was therefore illusory, and Bidder A was never given

  an opportunity to improve its “best and final” bid further, while CenterPoint Energy was.

         37.     Specifically, on April 18, 2018, two days after the illusory “best and final” bid

  deadline, a representative of BofA Merrill Lynch spoke to William Roger, the Chief Financial

  Officer of CenterPoint Energy.     At the direction of Company management, the BofA Merrill

  Lynch representative informed Mr. Rogers that the Company would like to move forward on a

  transaction with CenterPoint Energy, provided that acceptable price and other terms could be

  negotiated. Defendants agreed to continue negotiations and move forward with a deal with

  CenterPoint Energy despite the fact that the BofA Merrill Lynch representative indicated that the




                                                   9
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 10 of 42 PageID #: 1881



  terms of the merger agreement proposed by CenterPoint Energy were not as favorable as those

  proposed by Bidder A.      The BofA representatives indicated that the Company would like

  CenterPoint Energy to consider increasing the price of its proposal to he bare minimum price the

  Defendants were willing to accept, $72.00 per share. CenterPoint’s representatives quickly

  indicated that they would move forward at the bare minimum $72.00 price, and the parties moved

  quickly to finalize the Merger Agreement at that price. That same day, a representative from BofA

  Merrill Lynch spoke with the chief executive officer of Bidder A to inform him that the Board had

  instructed management to move forward with another bidder, and Bidder A was not given an

  opportunity to improve its bid further—only CenterPoint Energy was given that opportunity after

  the illusory “best and final offer” deadline. And, given the fact that Bidder A was bound by a

  standstill provision, it was unable to make a better offer directly to the Company’s shareholders.

         38.     Also on April 18, 2018, BofA Merrill Lynch provided to Company management a

  disclosure form concerning BofA Merrill Lynch’s material relationships with CenterPoint Energy,

  which noted that (i) certain senior members of the BofA Merrill Lynch financial advisory deal

  team working with the Company are also members of the coverage team for CenterPoint Energy,

  including the relationship manager of the CenterPoint Energy coverage team, and (ii) certain

  members of the financial advisory team working with the Company have provided advisory

  services to CenterPoint Energy unrelated to the Company from time to time.

         39.     On April 21, 2018, Scott M. Prochazka, CenterPoint Energy’s President and Chief

  Executive Officer, called Mr. Chapman to discuss the remaining open issues in the merger

  agreement. Following this discussion and after additional discussions among the Company’s and

  CenterPoint Energy’s counsel, Baker Botts provided to CenterPoint Energy and its counsel a

  revised form of merger agreement that reflected the resolution of all open items in the merger




                                                  10
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 11 of 42 PageID #: 1882



  agreement. This draft provided that performance-based equity awards would be cashed out at the

  greater of target and actual performance, other than 2019 grants, if any were issued, which would

  be cashed out on a pro-rated basis based on target performance.

         40.      Later that day, the Board met at a special meeting to consider the final terms of the

  offer from CenterPoint Energy. Members of Company senior management and representatives

  from BofA Merrill Lynch and legal counsel were present during parts of the meeting.

  Mr. Chapman and other members of Company senior management reviewed with the Board the

  final terms of the transaction that had been negotiated with CenterPoint Energy, including the price

  of $72.00 per share in cash and the protections and commitments for employees. Such employee

  commitments included that the combined company’s natural gas utilities operations would be

  headquartered in Evansville for at least three years, a to-be-determined executive would be

  appointed to oversee gas utility operations, and a to-be-determined chief business officer for the

  Company’s electric business would be appointed and based in Evansville.

         41.     Following the presentation by Company management, BofA Merrill Lynch

  reviewed the financial aspects of the transaction and provided the Board with an update of its

  valuation analysis with respect to the Company. BofA Merrill Lynch then delivered to the Board

  an oral opinion, which was confirmed by delivery of a written opinion dated April 21, 2018, to the

  effect that, as of that date and based on and subject to various assumptions and limitations

  described in its opinion, the merger consideration to be received by holders of Company common

  stock was fair, from a financial point of view, to such holders. Following receipt of BofA Merrill

  Lynch’s fairness opinion and further discussion, the Board unanimously adopted the merger

  agreement and approved the Company’s execution, delivery and performance of the merger

  agreement and the consummation of the transactions contemplated by the merger agreement, and




                                                   11
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 12 of 42 PageID #: 1883



  resolved to recommend that the shareholders of the Company approve the merger agreement and

  directing that the merger agreement be submitted to the Company’s shareholders for approval at a

  duly held meeting of the Company’s shareholders for such purpose.

  II.    BofA Merrill Lynch’s Conflicts of Interest Made it Even More Critical That Vectren
         Shareholders Be Provided with the Material Financial Projections Necessary to
         Understand and Assess Its Valuation Analyses, But They Were Not

         42.     In addition to the above-referenced conflicts of interest, BofA Merrill Lynch has or

  will receive approximately $32.3 million in connection with the Merger, including $1 million of

  which was payable upon the delivery of its fairness opinion, approximately $3.23 million of which

  was payable upon execution of the Merger Agreement, approximately $6.46 million of which

  became payable upon receipt of the Company shareholder approval, and the remaining portion of

  which is contingent upon consummation of the Merger. Additionally, BofA Merrill Lynch had

  strong, pre-existing ties to both Vectren and CenterPoint Energy. From April 1, 2016 through

  March 31, 2018, BofA Merrill Lynch and its affiliates derived aggregate revenues from Vectren

  and its affiliates of approximately $5 million. In addition, BofA Merrill Lynch and its affiliates

  previously provided, and at the time they rendered the fairness opinion were providing financial

  services to CenterPoint Energy and had or may receive compensation for the rendering of such

  services, including (i) having acted or acting as co-lead arranger and joint bookrunner for, and as

  a lender (including in some instances as letter of credit lender) under, certain credit facilities of

  CenterPoint Energy and certain of its affiliates, (ii) having acted as joint bookrunner on several

  debt offerings undertaken by affiliates of CenterPoint Energy, and (iii) having provided or

  providing certain treasury and trade management services and products to CenterPoint Energy and

  certain of its affiliates. From April 1, 2016 through March 31, 2018, BofA Merrill Lynch and its




                                                   12
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 13 of 42 PageID #: 1884



  affiliates derived aggregate revenues from CenterPoint Energy and its affiliates of approximately

  $10 million for investment and corporate banking services.

         43.     In other words, BofA Merrill Lynch faced significant conflicts of interest in opining

  on the purported “fairness” of the Merger Consideration to Vectren’s public shareholders. It was

  therefore imperative that Vectren shareholders be provided with the financial information

  necessary to properly assess BofA Merrill Lynch’s valuation analyses, but, as set forth herein, they

  were not.

 III.    The Defendants, Vectren’s Executive Officers and Management had Significant
         Personal Reasons for Agreeing to a Merger with CenterPoint, Which Caused Their
         Interests to Diverge from the Company’s Public Shareholders

         44.     The Individual Defendants and other Vectren executives also had significant

  personal financial reasons for pursuing a merger rather than continuing with Vectren’s stand-alone

  business plan, including benefits derived from the treatment of their equity awards, fiscal year

  bonuses, change in control agreements, and deferred compensation plans. The estimated value of

  the benefits that Vectren’s non-employee directors will receive in respect of their stock unit awards

  in connection with the Merger is $1,139,040 in the aggregate.

         45.     First, each stock unit of the Company subject to time-based vesting under the

  Company’s stock plan that is unvested and outstanding immediately prior to the effective time of

  the merger (other than the stock units granted in May 2018 or the 2019 fiscal year) will vest in full

  and be cancelled and in exchange therefor, former holders of stock units will be entitled to receive

  a cash payment in an amount equal to the cash consideration payable pursuant to the merger plus

  the amount of any unpaid dividend equivalents associated with such stock units as of the effective

  time of the merger, less withholding with respect to applicable taxes. Such cash payment will be

  made within five business days after the closing date.




                                                   13
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 14 of 42 PageID #: 1885



         46.     Additionally, each performance unit of the Company subject to performance-based

  vesting under its stock plan for which the applicable performance period has ended prior to the

  effective time of the merger that is outstanding and unpaid prior to the effective time (“unpaid

  performance units”) will be cancelled and in exchange therefor, former holders of our unpaid

  performance units will be entitled to receive a cash payment in an amount equal to the cash

  consideration payable pursuant to the merger, with the number of vested unpaid performance units

  of the Company as of the effective time of the merger to equal the number determined in

  accordance with the performance criteria and adjusted for dividends as provided in the applicable

  award agreement, less withholding with respect to applicable taxes.

         47.      Furthermore, each performance unit of the Company subject to performance-based

  vesting under its stock plan, other than unpaid performance units or any performance units that

  may be granted in the 2019 fiscal year, that is outstanding and unvested immediately prior to the

  effective time of the merger will vest in full and be cancelled and in exchange therefor, the former

  holders of such performance units will be entitled to receive a cash payment in an amount equal to

  the cash consideration payable pursuant to the merger, with the number of vested performance

  units as of the effective time of the merger to equal the greater of the target award and the number

  determined in accordance with the performance criteria provided in the applicable award

  agreement as if the performance period ended on the last business day immediately preceding the

  closing date and adjusted for dividends as provided in the applicable award agreement, less

  withholding with respect to applicable taxes. Such cash payment will be made within five business

  days after the closing date.

         48.      Following the date of the merger agreement, the Defendants amended the

  Company’s stock plan to provide that each outstanding May 2018 or 2019 stock unit will be




                                                  14
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 15 of 42 PageID #: 1886



  cancelled upon the consummation of the Merger and in exchange therefor, the holders of such May

  2018 or 2019 stock units will be entitled to receive a cash payment in an amount equal to the cash

  consideration payable pursuant to the Merger, with the number of vested May 2018 or 2019 stock

  units to be based on the target award pro-rated based upon the closing date and adjusted for

  dividends as provided in the applicable award agreement (with any unvested portion cancelled),

  less withholding with respect to applicable taxes. Such cash payment will be made within five

  business days after the closing date. The May 2018 stock units will be prorated based on the

  number of days between the grant date and the closing date divided by 365. The 2019 stock units

  will be prorated based on the number of days between the grant date and the closing date divided

  by 1095.

         49.     Additionally, immediately prior to the effective time of the Merger, each

  contractual right to receive the value of a share of the Company’s common stock under its

  nonqualified deferred compensation plan that is outstanding immediately prior to the effective time

  of the Merger will be cancelled and in exchange therefor, the holders of such contractual rights

  will be entitled to receive a cash payment in an amount equal to the cash consideration payable

  pursuant to the Merger, less withholding with respect to applicable taxes. Such cash payment will

  be made on the date that it would otherwise occur under our applicable benefit plan or applicable

  election form under our benefit plan.

         50.     The table below sets forth for each of the Company’s named executive officers

  estimates of the amounts of compensation that are based on or otherwise relate to the Merger.

  Certain amounts will or may become payable on a qualifying termination of employment following

  the Merger (i.e., on a “double-trigger” basis). Certain other benefits will become payable upon the

  occurrence of the closing of the merger (i.e., on a “single-trigger” basis).




                                                   15
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 16 of 42 PageID #: 1887



       Name             Cash         Cash                                                 Non-qualified
                      (Double       (Single                   Perquisites /                 Deferred                        CIC
                     Trigger) (1) Trigger) (2)   Equity (3)   Benefits (4)    Subtotal   Compensation (5)     Total      Reduction (6)
  Carl L. Chapman    $6,331,500 $ 496,718 $10,890,705 $            33,016 $17,751,938 $       13,884,901 $31,636,839 $ 2,500,046
  M. Susan
     Hardwick        $1,416,301 $ 125,345 $ 2,396,956 $            11,156 $ 3,949,758 $        1,538,138 $ 5,487,896 $        748,398
  Eric J. Schach     $1,928,925 $ 178,437 $ 3,349,641 $            30,343 $ 5,487,346 $          825,248 $ 6,312,594             N/A
  Ronald E.
     Christian       $1,599,071 $ 141,520 $ 2,475,168 $            19,682 $ 4,235,441 $          759,701 $ 4,995,142             N/A

  (1) These double-trigger cash payments represent payments for severance under the applicable change in control agreement.
      Under the change in control agreements, if, during the period beginning on the change in control and continuing for two years
      thereafter, the NEO’s employment is terminated by us (or our successor) other than for cause, death or disability, or the NEO
      resigns employment for good reason, then we (or our successor) will make a termination payment to the NEO based upon a
      multiple of base salary plus target annual incentive, which multiple is three for Mr. Chapman and two for all other NEOs.
  (2) This single trigger cash payment represents the payment for the pro-rated bonus for the fiscal year of the merger for the
      efforts made for the portion of such year through the closing pursuant to the merger agreement.
  (3) This single trigger payment represents the value of all unvested stock units and performance units (at target) that will vest and
      convert into a right to receive $72.00, in each case, as of the effective time pursuant to the merger agreement. As described
      under “The Merger Agreement—Treatment of Company Equity Awards”, pursuant to the merger agreement, the performance
      units will vest at the greater of target or actual results; accordingly, the value of these payments could be greater than the
      amount reflected in the table.
  (4) This double trigger amount represents the value of the continuation of medical, prescription, dental, and other welfare benefit
      plans for three years for Mr. Chapman and two years for all other NEOs pursuant to the change in control agreements.
  (5) For each NEO other than Mr. Chapman, this amount represents a single trigger payment for the total value of the NEO’s
      nonqualified deferred compensation plan accounts under the active plan, which represent previously earned compensation
      that such NEO elected to have accelerated and paid upon a change in control, which will be paid upon the effective time of
      the merger. For Mr. Chapman this amount represents a single trigger payment of $11,088,939 for the total value of his
      nonqualified deferred compensation plan accounts under the active plan that is payable in a lump sum upon the effective time
      of the merger and a double trigger payment of $2,795,962 for the total value of his nonqualified deferred compensation plan
      accounts under the frozen plan that is payable in a lump sum upon a termination at any time following a change in control
      and in each case such amounts represent previously earned compensation of Mr. Chapman. The NEOs other than
      Mr. Chapman also have accounts under the frozen nonqualified deferred compensation plan which will not be accelerated due
      to the merger (either on a single or double trigger basis) and are not included in these amounts.
  (6) As described under “Additional Interests of the Company’s Directors and Executive Officers in the Merger —Change in
      Control Agreements”, pursuant to the change in control agreements, the total payment following a change in control will be
      reduced to a level below the Section 280G safe harbor amount if the NEO would receive a higher after-tax benefit than if the
      executive were to pay the applicable excise tax on the full payment amount. Under the assumptions above, Mr. Chapman and
      Ms. Hardwick exceed the 280G safe harbor amount and as a result their payments would be reduced below the safe harbor
      amount. The payments to Mr. Schach also exceed the Section 280G safe harbor amount, but Mr. Schach has a higher after-tax
      benefit by receiving the full payments and paying the applicable excise tax than reducing his payments. Under the above
      assumptions, it is estimated that Mr. Schach will owe an excise tax of $840,331 and the Company will be denied a tax
      deduction with respect to such excess parachute payments in an amount equal to $4,201,656. The payments to Mr. Christian
      do not exceed his Section 280G safe harbor amount; accordingly, the payments are not subject to the modified Section 280G
      cutback provision.



            51.       Furthermore, as noted above, CenterPoint Energy agreed to maintain certain

  facilities and offices in Evansville and to appoint executive officers based in Evansville to oversee

  gas utility operations and the Company’s electric business.

            52.       Additionally, as noted above, the treatment of outstanding unvested performance-

  based equity-awards was an important aspect of the negotiations to the Defendants. On March 15,

  2018, BofA Merrill Lynch provided bidders with a draft merger agreement which contemplated


                                                                    16
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 17 of 42 PageID #: 1888



  that all outstanding unvested performance-based equity awards would be cashed out at closing

  using values based on the greater of target and actual performance. In the markup of the merger

  agreement CenterPoint Energy sent to the Company on April 6, 2018, CenterPoint Energy

  proposed that unvested outstanding performance-based equity awards be cashed out at target

  valuation upon closing. On April 10, 2018, Baker Botts sent a revised draft of the merger

  agreement to CenterPoint Energy that counter-proposed that all performance-based equity awards

  be cashed out at the greater of target and actual performance. As of April 13, 2018, the treatment

  of outstanding performance-based equity awards remained a key open issue. On April 16, 2018,

  CenterPoint Energy submitted a revised merger agreement with certain unspecified revised terms

  regarding equity awards for the Company’s officers and employees.            On April 21, 2018,

  Mr. Prochazka called Mr. Chapman to discuss the remaining open issues in the merger agreement.

  Following this discussion and after additional discussions among the Company’s and CenterPoint

  Energy’s counsel, Baker Botts provided to CenterPoint Energy and its counsel a revised form of

  merger agreement that reflected the resolution of all open items in the merger agreement. This

  draft provided that performance-based equity awards would be cashed out at the greater of target

  and actual performance, other than 2019 grants, if any were issued, which would be cashed out

  on a pro-rated basis based on target performance.

         53.     Simply put, the treatment of equity awards for the Company’s officers and

  employees was clearly a key issue for the Defendants and members of Vectren management, and

  they ultimately were able to largely obtain the treatment they desired.

  IV.    Background Information Concerning Vectren and its Valuation

         54.     Vectren is an energy holding company headquartered in Evansville, Indiana. Its

  wholly owned subsidiary, Vectren Utility Holdings, Inc. (“VUHI”), serves as the intermediate




                                                  17
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 18 of 42 PageID #: 1889



  holding company for three public utilities: Indiana Gas Company, Inc. (“Indiana Gas”), Southern

  Indiana Gas and Electric Company (“SIGECO”), and Vectren Energy Delivery of Ohio, Inc.

  (“VEDO”). VUHI also has other assets that provide information technology and other services to

  the three utilities. VUHI’s consolidated operations are collectively referred to as the Utility Group.

  Both the Company and VUHI are holding companies as defined by the Energy Policy Act of 2005.

          55.     Indiana Gas provides energy delivery services to approximately 603,000 natural

  gas customers located in central and southern Indiana. SIGECO provides energy delivery services

  to approximately 146,000 electric customers and approximately 112,000 gas customers located

  near Evansville in southwestern Indiana. SIGECO also owns and operates electric generation

  assets to serve its electric customers and optimizes those assets in the wholesale power market.

  Indiana Gas and SIGECO generally do business as Vectren Energy Delivery of Indiana. VEDO

  provides energy delivery services to approximately 323,000 natural gas customers located near

  Dayton in west-central Ohio.

          56.     Vectren is also involved in nonutility activities in two primary business areas:

  Infrastructure Services and Energy Services. Infrastructure Services provides underground

  pipeline construction and repair services. Energy Services provides energy performance

  contracting and sustainable infrastructure, such as renewables, distributed generation, and

  combined heat and power projects. Enterprises also has other legacy businesses that have

  investments in energy-related opportunities and services and other investments. All of the above

  is collectively referred to as the Nonutility Group. Enterprises supports the Company’s regulated

  utilities by providing infrastructure services.

          57.     Accordingly, Vectren’s overall business can be broken down into three distinct

  categories of services: electric utility, gas utility, and non-regulated.




                                                     18
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 19 of 42 PageID #: 1890



         58.     Given the diversity of these three distinct business segments all operating under the

  Vectren Corporation umbrella, BofA Merrill Lynch deemed it necessary to value each of Vectren’s

  business segments separately to capture each segment’s unique market, governmental, and

  regulatory influences. They performed comparable companies and transactions analyses for each

  business segment individually and ran a separate DCF for each business segment. To accomplish

  the business segment financial valuation, the Company’s projections had to have been broken

  down by business segment—net income for gas, net income for electric, net income for non-

  regulated, EBITDA for gas, EBITDA for electric, EBITDA for non-regulated, free cash flow for

  gas, free cash flow for electric, free cash flow for non-regulated, etc. Additionally, the various

  valuation assumptions (pricing multiples, risk-based discount rates, etc.) were also derived and

  disclosed at the business segment level—a discount rate range for gas, a discount rate range for

  electric, a discount rate for non-regulated, etc. However, the individualized Business Segment

  Projections were not disclosed to the Company’s shareholders, despite the fact that such

  projections were clearly critical in order to properly value Vectren shares.

         59.     Moreover, it appears that BofA Merrill Lynch used an inappropriately high

  discount rate in performing its Discounted Cash Flow Analysis. The average of the midpoints of

  the ranges provided in the Proxy on page 37 provides for a discount rate for Vectren of 6.4%.

  However, Bloomberg—through their subscription-based service—states that the discount rate for

  Vectren is actually 5.3%, as indicated below:




                                                  19
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 20 of 42 PageID #: 1891




  As discussed infra, this variation in discount rate could result in a tremendous difference in

  valuation.

         60.     Vectren shareholders were impeded from recognizing and quantifying how much

  BofA Merrill Lynch misvalued their shares utilizing a flawed analysis, and were misled about the

  implied equity value for their shares, because the Vectren Cash Flow Projections and Business

  Segment Projections were not given to them. If these projections had been disclosed, Vectren

  shareholders would have been able to determine that the implied equity value of their Vectren

  shares was higher than the range set forth on page 38 of the Proxy. Without the actual Cash Flow

  Projections and the Business Segment Projections, all Vectren shareholders were given was a

  misleading conclusion that the implied equity value for their Vectren shares was significantly

  lower than Vectren’s actual intrinsic value.

         61.     Additionally, in March 2018, one month prior to the Merger announcement, analyst

  growth expectations for Vectren were strong according to the investor website Simply Wall Street.

  Vectren’s earnings growth was expected to be in the teens in the upcoming years, indicating it had



                                                 20
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 21 of 42 PageID #: 1892



  a solid future ahead as a stand-alone entity. Such growth should presumably have led to robust

  cash flows, feeding into a higher share value. Of course, the Company’s Cash Flow Projections

  were withheld from shareholders, which in turn rendered the summary of BofA Merrill Lynch’s

  Discounted Cash Flow Analysis misleadingly incomplete.

   V.    The Proxy Omitted Critical Financial Projections, Which Rendered the Summary of
         BofA Merrill Lynch’s Valuation Analyses and Consolidated Projections Incomplete
         and Misleading

         62.     On July 16, 2018, Vectren filed the Proxy with the SEC, which was mailed to

  Vectren shareholders on or about July 17, 2018. The Proxy solicited the Company’s shareholders

  to vote in favor of the Merger. Defendants, as directors and/or officers of the Company, had a

  duty to carefully review the Proxy before it was filed with the SEC and disseminated to the

  Company’s shareholders to ensure that it did not contain any material misrepresentations or

  omissions. However, as set forth herein, the Defendants breached that duty and were therefore

  negligent, as the omission of the Cash Flow Projections and the Business Segment Projections

  rendered specific portions of the Proxy misleadingly incomplete.

         63.     It is not subject to serious challenge that information relating to the financial

  condition, solvency, and profitability of a company is plainly material to its shareholders.

  Complete and accurate financial projections are necessary for shareholders when deciding how to

  vote on a merger, because company managers have meaningful insight into their firms’ futures

  that the market does not. Thus, complete and accurate projections speak directly to the question

  forced upon shareholders by a merger: does the merger consideration adequately compensate me

  for surrendering my shares and a future interest in the corporation?

         64.     Therefore, when corporate actors voluntarily elect to speak regarding projections

  and valuation-related information, they assume an obligation to do so in a complete and accurate

  manner. When it comes to disclosing projections and valuation information, a company may


                                                  21
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 22 of 42 PageID #: 1893



  choose silence or speech elaborated by the factual basis as then known—but it may not choose

  incomplete half-truths. If one speaks on a topic, he is bound not only to state the truth but also not

  to withhold any facts within his knowledge which will materially qualify those stated; if he speaks

  at all, he must make a full and fair disclosure. The selective disclosure of projections and valuation

  information is inherently misleading because, by providing only a partial “summary” of

  projections or valuation analyses, shareholders are unable to properly assess the overall valuation

  picture of a company or transaction. Disclosing only a subset of available financial information,

  while withholding another subset of distinct financial information that alters the overall valuation

  picture created by the disclosed numbers, is misleading.

         A. The Cash Flow Projections Were Material

         65.     Unlevered free cash flow projections are the single most important financial metric

  when valuing a company for sale. For this reason, the disclosure of cash flow projections is a

  staple in the vast majority of proxy statements filed by publicly traded companies being acquired

  in corporate mergers. In fact, in Vectren’s most recent 10-K, Defendants acknowledge the

  importance of cash flows, referencing them 47 times throughout the filing. However, here,

  Defendants conspicuously withheld any form of Vectren’s readily available Cash Flow Projections

  from shareholders despite electing to include a table of projections on page 40 and incompletely

  “summarizing” BofA Merrill Lynch’s Discounted Cash Flow Analysis.

         66.     The primary projection metrics disclosed on page 40 (net income and EBITDA)

  are not sufficient analogs for Cash Flow Projections.1 Well settled principles of corporate finance

  and valuation dictate that the value of companies and their stock should be premised upon the




  1
         The summary does not even disclose the required information for shareholders to
  independently calculate cash flow projections.


                                                   22
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 23 of 42 PageID #: 1894



  company’s projected future cash flows, not projected net income or EBITDA.2 BofA Merrill

  Lynch agrees, as indicated by their use of the Cash Flow Projections—not EBITDA or net

  income—in performing their DCF analysis, and academics and practitioners concur. 3,4,5

         67.     There are fundamental differences between unlevered free cash flow and net

  income. A company’s net income is a quite arbitrary figure obtained after assuming certain

  accounting hypotheses regarding expenses and revenues. On the other hand, free cash flow is an

  objective measure, a single figure that is not subject to any personal criterion.6 As a leading

  financial expert explains:

         The classic definition of net income (revenues for a period less the expenses that
         enabled these revenues to be obtained during that period), in spite of its conceptual
         simplicity, is based on a series of premises that seek to identify which expenses
         were necessary to obtain these revenues. This is not always a simple task and often
         implies accepting a number of assumptions. Issues such as the scheduling of
         expense accruals, the treatment of depreciation, calculating the product’s cost,
         allowances for bad debts, etc., seek to identify in the best possible manner the


  2
          Pratt, Shannon. “Net Cash Flow: The Preferred Measure of Return.” Cost of Capital. 16.
  (“Occasionally, we find an analyst treating earnings before interest, taxes, depreciation, and
  amortization (EBITDA) as if it were free cash flow. This error is not a minor matter…”).
  3
          “Morningstar’s Approach to Equity Analysis and Security Valuation.” The Valuation
  Handbook: Valuation Techniques from Today’s Top Practitioners. Ed. Rawley Thomas and
  Benton E. Gup. Hoboken: John Wiley & Sons, 2010. 305. (“We use a discounted cash flow (DCF)
  approach to arrive at our intrinsic value estimates because it allows us to separate economic reality
  from accounting-based noise.”).
  4
          Copeland, Thomas. Financial Theory and Corporate Policy. 3rd ed. 24. (“The main
  difference between the accounting definition and the economic definition of profit is that the
  former does not focus on cash flows when they occur, whereas the latter does… Financial
  managers are frequently misled when they focus on the accounting definition of profit…”).
  5
          Brealey, Richard, Stewart Myers, and Franklin Allen. “The Value of Common Stocks.”
  Principles of Corporate Finance. 10th ed. New York: McGraw-Hill Irwin, 2011. 80. (“This
  discounted-cash-flow (DCF) formula for the present value of a stock is just the same as it is for
  the present value of any other asset. We just discount the cash flows…. Notice that it is not correct
  to say that the value of a share is equal to the sum of the discounted stream of earnings per share.”)
  (emphasis in the original).
  6
          Pablo Fernández, Cash flow is a Fact. Net income is just an opinion, (October 17, 2008),
  http://csinvesting.org/wp-content/uploads/2015/02/Cash-Flow-vs.-NI.pdf,           also    found     as
  Valuation Methods and Shareholder Value Creation, Chapter 9 Cash Flow and Net Income, 2002
  Academic Press, San Diego, CA.


                                                   23
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 24 of 42 PageID #: 1895



         quantity of resources that it was necessary to sacrifice in order to obtain the
         revenues. Although this “indicator”, once we have accepted the premises used, can
         give us adequate information about how a company is doing, the figure obtained
         for the net income is often used without full knowledge of these hypotheses, which
         often leads to confusion.

  “Free cash flow is accurate because it shows the cash coming in and the cash going out whereas

  with net income, one has to worry about accrual accounting, non-cash charges such as depreciation

  and most importantly, heavy manipulation. The main advantage that free cash flow has over

  earnings is that it can’t be manipulated as much.”7 Simply stated, net income is an accounting

  number used for reporting purposes, but free cash flow is the actual amount of cash available to

  investors.

         68.     Similarly, there are fundamental differences between unlevered free cash flow and

  EBITDA. EBITDA is not a sufficient alternative to unlevered free cash flows—as Warren Buffet

  and other financial experts have stated: “References to EBITDA make us shudder. Too many

  investors focus on earnings before interest, taxes, depreciation, and amortization. That makes

  sense, only if you think capital expenditures are funded by the tooth fairy.”8 Relying solely on

  EBITDA to provide a fair summary of a company’s financial prospects has numerous pitfalls.

  EBITDA does not take into account any capital expenditures, working capital requirements,

  current debt payments, taxes, or other fixed costs that are critical to understand a company’s value.9

  As a result of these material differences between EBITDA and unlevered free cash flows, experts




  7
          David Thomas, Why Free Cash Flow Is Better Than Earnings, Shares and Stockmarkets,
  (July 29, 2013), https://sharesandstockmarkets.com/free-cash-flow-v-earnings/.
  8
          Elizabeth MacDonald, the Ebitda folly, FORBES (March 17, 2003),
  http://www.forbes.com/global/2003/0317/024.html.
  9
          Cody Boyte, Why EBITDA is Not Cash Flow, AXIAL FORUM (Nov. 19, 2013),
  http://www.axial.net/forum/ebitda-cash-flow/


                                                   24
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 25 of 42 PageID #: 1896



  recognize unlevered free cash flows as a much more accurate measure when it comes to analyzing

  the expected performance of a company.

         69.     In sum, the Cash Flow Projections were plainly material information which

  Defendants erred in omitting from the Proxy, especially since they were readily available and

  utilized by the financial advisor to value the Company.

         B. The Business Segment Projections Were Material

         70.     As discussed above, although all under the Vectren umbrella, the Company has

  three distinct business lines that are each subject to their own independent regulatory and market

  influences. But perhaps more important to Vectren shareholders, BofA Merrill Lynch valued each

  segment of the Company independently. All three of BofA Lynch’s valuation analyses—the

  Selected Publicly Traded Companies Analysis, the Selected Precedent Transactions Analysis, and

  the Discounted Cash Flow Analysis—utilized the Business Segment Projections, not the

  Consolidated Projections provided in the summary on page 40. In fact, it appears that the

  Consolidated Projections were essentially ignored by the financial advisor.

         71.     The exclusive use of the Business Segment Projections by BofA Merrill Lynch

  indicates that they, not the Consolidated Projections on page 40 of the Proxy, are the projections

  required to properly assess the fairness of the Merger Consideration and value of the Company.

  Further, all the various valuation assumptions (pricing multiples, risk-based discount rates, etc.)

  were provided on a business segment basis. Hence, without the Business Segment Projections, it

  was literally impossible for shareholders to value their shares according to the approach favored

  by Defendants’ own financial advisor, or even check that BofA Merrill Lynch’s inputs and

  assumptions were reasonable. By lumping each of the separate segment projections into the




                                                  25
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 26 of 42 PageID #: 1897



  consolidated summary on page 40, the Proxy skews the financial picture of the Company and

  prevents shareholders from seeing the effect of each set of independent influences.

         72.     In sum, the financial analyses performed by BofA Merrill Lynch clearly

  demonstrate that the most reliable and appropriate method of valuing the company was through

  the use of three separate business segments. To enable such a valuation, Defendants furnished

  BofA Merrill Lynch with the Business Segment Projections, but withheld them from shareholders.

  This constitutes a material omission.

  VI.    The Omission of the Cash Flow Projections and Business Segment Projections
         Rendered the Following Portions of the Proxy Misleadingly Incomplete

         A. The Misleading Summary of BofA Merrill Lynch’s Discounted Cash Flow Analysis

         73.     First, the omission of the Cash Flow Projections and the Business Segment

  Projections rendered the “summary” of BofA Merrill Lynch’s Discounted Cash Flow Analysis on

  page 37-38 of the Proxy misleadingly incomplete. As set forth herein, BofA Merrill Lynch could

  not have performed its Discounted Cash Flow Analysis in the manner that it did without separate

  Unlevered Free Cash Flow Projections for each business segment. Further, as set forth above, it

  appears that BofA Merrill Lynch utilized high discount rates in conducting this analysis, and thus,

  the resulting implied per share equity value reference range on page 38 did not accurately reflect

  the value of Vectren shareholders’ shares. However, because the Cash Flow Projections and

  Business Segment Projections were omitted, Vectren shareholders were unable to properly assess

  and quantify how off base the misleadingly low equity value reference range was. And, as set

  forth below, even a minor change to the discount rate would have a significant impact on the

  resulting valuation. Simply put, a so-called “summary” of a valuation analysis is misleading if

  underlying assumptions or key inputs are omitted, particularly when shareholders are impeded




                                                  26
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 27 of 42 PageID #: 1898



  from recognizing how significantly undervalued their shares are as compared to the “implied”

  valuation range they have been given because of the omission.

         74.     To support their fairness opinions, financial advisors perform several types of

  valuation analyses. Here, BofA Merrill Lynch performed a Selected Publicly Traded Companies

  Analysis, a Selected Precedent Transactions Analysis, and a Discounted Cash Flow Analysis.

  Proxy at 34-38. Each of these analyses are highly subjective and prone to manipulation to ensure

  the desired outcome—that the merger consideration and transaction at issue appear “fair” to

  shareholders. As a highly-respected professor explained in one of the most thorough law review

  articles regarding the fundamental flaws with the valuation analyses bankers perform in support

  of fairness opinions:

         A fairness opinion’s worth ultimately lies in the reliability and accuracy of its
         underlying valuation analyses. This is the realm of finance - and academics have
         made significant strides in the previous decades to develop techniques by which a
         theoretically reliable range of values can be achieved. However, there is still an
         element of subjectivity present in the choice and application of these methods. The
         end-result is to provide the preparer discretion to effect the outcome of a
         valuation and a diminished ability for outsiders to make comparative
         assessments of analyses.

         There are a number of different underlying valuation analyses upon which a
         fairness opinion can rest. The most common and accepted techniques are
         discounted cash flow, comparable companies, premium, break-up, and liquidation
         analysis. The preparer of a fairness opinion will typically utilize a weighted
         combination of these to arrive at a fairness conclusion. The choice of a particular
         analysis to employ and the weight given to each is partially subjective and depends
         upon the asset being valued and the relevant circumstances. For example, in the
         corporate control transaction paradigm the most important analysis is, absent
         unusual circumstances, the discounted cash flow calculus. However, in the
         investment banking community, there are no uniform, specific, and objective
         guidelines as to the exact mix and weight to assign to each of these methods to
         arrive at fairness.

         Each of the techniques in and of themselves is also prone to subjectivity. For
         example, a discounted cash flow analysis is conducted by discounting back at
         a chosen discount rate the projected future free cash flows and terminal value
         of an asset. In performing this analysis there are three central choices, which



                                                 27
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 28 of 42 PageID #: 1899



         must be made, each of which can significantly affect the final valuation. These
         are the correct forecasted free cash flows to utilize, the appropriate discount
         rate, and the terminal value of the asset. There is substantial leeway to
         determine each of these, and any change can markedly affect the discounted
         cash flow value. For example, a change in the discount rate by one percent on
         a stream of cash flows in the billions of dollars can change the discounted cash
         flow value by tens if not hundreds of millions of dollars. However, again there
         is no standard-setting or other body guiding these or other preparation decisions.
         Rather, a discounted cash flow analysis, like other valuation analyses, is typically
         compiled using historically developed and unguided industry practices as
         influenced and first put forth by academic practitioners. This lends itself to
         differences in valuation approach in each application and among institutions as each
         of them develops their own individual approach. This issue arises not only with a
         discounted cash flow analysis, but with each of the other valuation techniques.

         This dazzling variability makes it difficult to rely, compare, or analyze the
         valuations underlying a fairness opinion unless full disclosure is made of the
         various inputs in the valuation process, the weight assigned for each, and the
         rationale underlying these choices. The substantial discretion and lack of
         guidelines and standards also makes the process vulnerable to manipulation
         to arrive at the “right” answer for fairness. This raises a further dilemma in light
         of the conflicted nature of the investment banks who often provide these opinions.

  Steven M. Davidoff, Fairness Opinions, 55 AM. U. L. REV. 1557, 1573-78 (2006).

         75.      Here, BofA Merrill Lynch performed a sum-of-the-parts DCF analysis of Vectren,

  which consisted of discrete valuations of the Company’s distinct business segments (i.e., its gas

  utility business, electric utility business, and non-regulated businesses) and summing the indicated

  values. Separate discount rates, terminal pricing multiples, and net debt were determined for each

  business segment, as illustrated by the figure below. This is only possible if separate unlevered

  free cash flow projections exist for each business segment.

                                                          Terminal Multiples:                Discount
               Business Segment                            Range        Basis                  Rate

               Gas Utility Business                     17.5x - 19.5x       EPS            5.0% - 5.8%
               Electric Utility Business                15.3x - 17.3x       EPS            4.7% - 5.4%
               Non-regulated Businesses                  8.0x - 9.0x       EBITDA          7.8% - 9.6%
            EPS = earnings per share; EBITDA = earnings before interest, taxes, depreciation, and amortization
                                                                                  Source: Merger Proxy, p. 37




                                                           28
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 29 of 42 PageID #: 1900



         76.     As indicated above, it appears that BofA Merrill Lynch used an inappropriately

  high discount rate for their DCF. The difference between a 5.3% discount rate (the Bloomberg

  rate) and a 6.4% discount rate (the average of the midpoints provided on page 37 of the Proxy) has

  a material impact on the resulting valuation. Assuming zero growth rate, 10 this difference in

  discount rates (1.1% or 110 basis points) could result in a 20% difference in valuation—and that

  effect would be larger still with higher assumed rates of growth.          Considering Vectren’s

  83,000,000 shares outstanding, the multiplied effect of this change could represent the difference

  in hundreds of millions of dollars. By any meaningful standard, such large differences are clearly

  material.

         77.     Exacerbating the financial ambiguity, unlike BofA Merrill Lynch’s sum-of-the-

  parts DCF, the Company’s financial projections were provided only on a consolidated basis,

  without breaking out the financial details by business segment. Furthermore, as noted earlier, Free

  Cash Flow Projections (the most important projected metric to understanding a discounted cash

  flow analysis) were not provided at all—not even on a consolidated basis. By mismatching the

  business segment information that formed the basis of BofA Merrill Lynch’s fairness opinion and

  management’s Consolidated Projections disclosed in the Proxy, Defendants could hardly have

  done a better job of obfuscating BofA Merrill Lynch’s financial analyses, even had they

  deliberately set out to do so.

         78.     As noted on page 34 of the Proxy, “[c]onsidering the data set forth in the tables

  below without considering the… assumptions underlying the analyses, could create a misleading

  or incomplete view of the financial analyses performed by BofA Merrill Lynch.” The Cash Flow



  10
          Well below management’s expectations of 6% to 8% growth over the next several years.
  Proxy at 16 (“Company management believes that the Company’s current strategic plan is capable
  of delivering 6% to 8% growth in the Company’s earnings per share over the next several years.”).


                                                  29
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 30 of 42 PageID #: 1901



  Projections—on a business segment basis—were the primary assumption used by BofA Merrill

  Lynch. The failure to provide the financial projections that aligned with the valuation analyses

  prepared by the Company’s own financial advisor in the Proxy therefore did, in fact, create a

  misleading and incomplete view of the financial analyses performed by BofA Merrill Lynch and

  the resulting implied valuation ranges.

          79.     Simply stated, one cannot properly assess and recognize the legitimacy or lack

  thereof of a financial advisor’s fairness opinion valuation analyses unless the key financial metrics

  and inputs associated with the analyses are disclosed. Here, the Defendants allowed the Proxy to

  incompletely and misleadingly “summarize” BofA Merrill Lynch’s valuation analyses. The

  summary of BofA Merrill Lynch’s Discounted Cash Flow Analysis on pages 37-38 of the Proxy

  was materially incomplete and misleading, because it failed to disclose the key inputs that were

  necessary for Vectren shareholders to fully recognize the illegitimacy of the analyses and assess

  how off-base the misleadingly low resulting implied equity value was.

          B. The Misleading Summary of Vectren’s Financial Projections

          80.     Defendants elected to summarize Vectren’s financial projections on page 40 of the

  Proxy, but they excised and failed to disclose the most important projections—the Cash Flow

  Projections and the Business Segment Projections.

          81.     As stated above, the Consolidated Projections summarized on page 40 were not

  even used by BofA Merrill Lynch in any of the valuation analyses disclosed. Therefore, the

  Consolidated Projections cannot by any objective measure be considered a fair summary of the

  key inputs utilized by BofA Merrill Lynch for its valuation analyses. It strains all credibility to

  claim that disclosing a set of projections that a financial advisor entirely set aside for other sets of

  more accurate and relevant financial projections constitutes complete and accurate disclosure. For




                                                    30
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 31 of 42 PageID #: 1902



  these reasons, omitting the Business Segment Projections and limiting the disclosure of the

  Company’s financial projections to only the Consolidated Projections in the Proxy was

  inexplicable, inappropriate, and misleading.

         82.     Furthermore, the omission of the Free Cash Flow Projections rendered the

  projection tables on page 40 of the Proxy incomplete and misleading because, without the Cash

  Flow Projections, the summary of Consolidated Projections provided a misleading overall

  valuation picture of Vectren. In light of the significant differences, as discussed in detail above,

  between unlevered free cash flow on the one hand, and the projected metrics that Defendants

  elected to disclose in the Proxy—net income and EBITDA—the table of projections on page 40

  of the Proxy presented a misleadingly incomplete overall valuation picture of Vectren. By failing

  to include the Cash Flow Projections, the table provides an obfuscated valuation picture of the

  Company. Simply put, unlevered free cash flow projections are irreplaceable when it comes to

  fully, fairly, and properly understanding a company’s projections and value.

         83.     In sum, the omission the of the Cash Flow Projections and the Business Segment

  Projections rendered the summary of BofA Merrill Lynch’s Discounted Cash Flow Analysis and

  the Consolidated Projections provided in the Proxy incomplete and misleading, in contravention

  of the Exchange Act. The materially incomplete and misleading Proxy was an essential link in the

  forthcoming Merger, as the Merger could not be consummated without shareholder approval,

  which in turn could not have been obtained without the misleading Proxy.

                                CLASS ACTION ALLEGATIONS

         84.     Plaintiffs bring this action on their own behalf and as a class action pursuant to Rule

  23 of the Federal Rules of Civil Procedure on behalf of all holders of Vectren common stock who

  are being harmed by Defendants’ actions described below (the “Class”). Excluded from the Class




                                                   31
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 32 of 42 PageID #: 1903



  are Defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated

  with any of the Defendants.

         85.     This action is properly maintainable as a class action for the following reasons:

                 (a)      The Class is so numerous that joinder of all members is impracticable. As

  of the record date, July 11, 2018, Vectren had 83,080,695 common shares outstanding. held by

  hundreds to thousands of individuals and entities scattered throughout the country. The actual

  number of public shareholders of Vectren will be ascertained through discovery;

                 (b)      There are questions of law and fact which are common to the Class and

  which predominate over questions affecting individual Class members. The common questions

  include, inter alia, the following:

                              i. Whether Defendants have violated Section 14(a) of the Exchange

                                  act and Rule 14a-9 promulgated thereunder;

                              ii. Whether the Individual Defendants have violated Section 20(a) of

                                  the Exchange Act; and

                              iii. Whether Plaintiffs and the other members of the Class suffered

                                  damages as a result of being compelled to vote for the Merger based

                                  on the materially incomplete and misleading Proxy;

                 (c)      Plaintiffs’ claims are typical of the claims of the other members of the Class

  and Plaintiffs do not have any interests adverse to the Class;

                 (d)      The prosecution of separate actions by individual members of the Class

  would create a risk of inconsistent or varying adjudications with respect to individual members of

  the Class which would establish incompatible standards of conduct for the party opposing the

  Class; and




                                                    32
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 33 of 42 PageID #: 1904



                  (e)     Defendants have acted on grounds generally applicable to the Class with

  respect to the matters complained of herein, thereby making appropriate the relief sought herein

  with respect to the Class as a whole.

                                               COUNT I

            On Behalf of Plaintiffs and the Class Against All Defendants for Violations of
            Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated Thereunder

            86.   Plaintiffs incorporate each and every allegation set forth above as if fully set forth

  herein.

            87.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

  of the mails or by any means or instrumentality of interstate commerce or of any facility of a

  national securities exchange or otherwise, in contravention of such rules and regulations as the

  Commission may prescribe as necessary or appropriate in the public interest or for the protection

  of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

  authorization in respect of any security (other than an exempted security) registered pursuant to

  section 78l of this title.” 15 U.S.C. § 78n(a)(1).

            88.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

  Act, provides that Proxy communications with shareholders shall not contain “any statement

  which, at the time and in the light of the circumstances under which it is made, is false or

  misleading with respect to any material fact, or which omits to state any material fact necessary in

  order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

            89.   The omission of information from a proxy statement will violate Section 14(a) and

  Rule 14a-9 if other SEC regulations specifically require disclosure of the omitted information.

            90.   Defendants issued the Proxy with the intention of soliciting shareholder support for

  the Merger. Each of the Defendants reviewed and authorized the dissemination of the Proxy and



                                                   33
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 34 of 42 PageID #: 1905



  the use of their name in the Proxy, which contained multiple misleading summaries and omitted

  critical information regarding the Company’s financial projections and BofA Merrill Lynch’s

  valuation analyses.

         91.     In so doing, Defendants made untrue statements of fact and/or omitted material

  facts necessary to make the statements made not misleading. Each of the Individual Defendants,

  as officers and/or directors, were aware of the omitted information but failed to disclose such

  information, in violation of Section 14(a). The Individual Defendants were therefore negligent, as

  they had reasonable grounds to believe material facts existed that were misstated or omitted from

  the Proxy, but nonetheless failed to obtain and disclose such information to shareholders although

  they could have done so without extraordinary effort.

         92.     Defendants knew or were negligent in not knowing that the Proxy is materially

  misleading and omits material facts that are necessary to render it not misleading. The Individual

  Defendants undoubtedly reviewed and relied upon most, if not all, of the omitted information

  identified above in connection with their decision to approve and recommend the Merger. Indeed,

  the Proxy states that Defendants were privy to and had knowledge of the financial projections for

  Vectren and the details surrounding discussions with other interested parties and the BofA Merrill

  Lynch. Defendants knew or were negligent in not knowing that the material information identified

  above has been omitted from the Proxy, rendering the sections of the Proxy identified above to be

  materially incomplete and misleading. Indeed, the Individual Defendants were required to review

  BofA Merrill Lynch’s analyses in connection with their receipt of the fairness opinions, question

  the bankers as to their derivation of fairness, and be particularly attentive to the procedures

  followed in preparing the Proxy and review it carefully before it was disseminated, to corroborate

  that there are no material misstatements or omissions.




                                                 34
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 35 of 42 PageID #: 1906



         93.      Defendants were, at the very least, negligent in preparing and reviewing the Proxy.

  The preparation of a proxy statement by corporate insiders containing materially false or

  misleading statements or omitting a material fact constitutes negligence.        Defendants were

  negligent in choosing to omit material information from the Proxy or failing to notice the material

  omissions in the Proxy upon reviewing it, which they were required to do carefully. Indeed,

  Defendants were intricately involved in the process leading up to the signing of the Merger

  Agreement, the preparation and review of strategic alternatives, and the review of Vectren’s

  financial projections.

         94.      Each Individual Defendant was negligent as explained below:

                i.         Individual Defendant Carl L. Chapman was negligent because, as a member

  of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch,

  was aware of the existence of the Cash Flow Projections and the Business Segment Projections,

  knew or should have known that such projections were material to the Company’s shareholders

  and necessary for them to properly assess the purported fairness of the Merger Consideration and

  BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the

  Proxy despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

               ii.         Individual Defendant Derrick Burks was negligent because, as a member of

  the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch, was

  aware of the existence of the Cash Flow Projections and the Business Segment Projections, knew

  or should have known that such projections were material to the Company’s shareholders and

  necessary for them to properly assess the purported fairness of the Merger Consideration and BofA

  Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the Proxy




                                                   35
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 36 of 42 PageID #: 1907



  despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

              iii.      Individual Defendant James H. DeGraffenreidt, Jr. was negligent because,

  as a member of the Board, he reviewed the financial analyses and fairness opinion with BofA

  Merrill Lynch, was aware of the existence of the Cash Flow Projections and the Business Segment

  Projections, knew or should have known that such projections were material to the Company’s

  shareholders and necessary for them to properly assess the purported fairness of the Merger

  Consideration and BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the

  dissemination of the Proxy despite the fact that it omitted such material information and contained

  the above-referenced misleading statements and summaries.

              iv.       Individual Defendant John D. Engelbrecht was negligent because, as a

  member of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill

  Lynch, was aware of the existence of the Cash Flow Projections and the Business Segment

  Projections, knew or should have known that such projections were material to the Company’s

  shareholders and necessary for them to properly assess the purported fairness of the Merger

  Consideration and BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the

  dissemination of the Proxy despite the fact that it omitted such material information and contained

  the above-referenced misleading statements and summaries.

               v.       Individual Defendant Anton H. George was negligent because, as a member

  of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch,

  was aware of the existence of the Cash Flow Projections and the Business Segment Projections,

  knew or should have known that such projections were material to the Company’s shareholders

  and necessary for them to properly assess the purported fairness of the Merger Consideration and




                                                  36
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 37 of 42 PageID #: 1908



  BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the

  Proxy despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

              vi.       Individual Defendant Robert G. Jones was negligent because, as a member

  of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch,

  was aware of the existence of the Cash Flow Projections and the Business Segment Projections,

  knew or should have known that such projections were material to the Company’s shareholders

  and necessary for them to properly assess the purported fairness of the Merger Consideration and

  BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the

  Proxy despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

             vii.       Individual Defendant Patrick K. Mullen was negligent because, as a

  member of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill

  Lynch, was aware of the existence of the Cash Flow Projections and the Business Segment

  Projections, knew or should have known that such projections were material to the Company’s

  shareholders and necessary for them to properly assess the purported fairness of the Merger

  Consideration and BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the

  dissemination of the Proxy despite the fact that it omitted such material information and contained

  the above-referenced misleading statements and summaries.

             viii.      Individual Defendant R. Daniel Sadlier was negligent because, as a member

  of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch,

  was aware of the existence of the Cash Flow Projections and the Business Segment Projections,

  knew or should have known that such projections were material to the Company’s shareholders




                                                  37
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 38 of 42 PageID #: 1909



  and necessary for them to properly assess the purported fairness of the Merger Consideration and

  BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the

  Proxy despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

              ix.       Individual Defendant Michael L. Smith was negligent because, as a member

  of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch,

  was aware of the existence of the Cash Flow Projections and the Business Segment Projections,

  knew or should have known that such projections were material to the Company’s shareholders

  and necessary for them to properly assess the purported fairness of the Merger Consideration and

  BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the

  Proxy despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

               x.       Individual Defendant Teresa J. Tanner was negligent because, as a member

  of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill Lynch,

  was aware of the existence of the Cash Flow Projections and the Business Segment Projections,

  knew or should have known that such projections were material to the Company’s shareholders

  and necessary for them to properly assess the purported fairness of the Merger Consideration and

  BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the dissemination of the

  Proxy despite the fact that it omitted such material information and contained the above-referenced

  misleading statements and summaries.

              xi.       Individual Defendant Jean L. Wojtowicz was negligent because, as a

  member of the Board, he reviewed the financial analyses and fairness opinion with BofA Merrill

  Lynch, was aware of the existence of the Cash Flow Projections and the Business Segment




                                                  38
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 39 of 42 PageID #: 1910



  Projections, knew or should have known that such projections were material to the Company’s

  shareholders and necessary for them to properly assess the purported fairness of the Merger

  Consideration and BofA Merrill Lynch’s valuation analyses, and he nevertheless approved the

  dissemination of the Proxy despite the fact that it omitted such material information and contained

  the above-referenced misleading statements and summaries.

            95.   Vectren is also deemed negligent as a result of the Individual Defendants’

  negligence in preparing and reviewing the Proxy.

            96.   As a direct and proximate result of the dissemination of the misleading Proxy

  Defendants used to obtain shareholder approval of the Merger, Plaintiff and the Class have suffered

  damages and actual economic losses (i.e. the difference between the value they received as a result

  of the Merger and the true value of their shares prior to the Merger) in an amount to be determined

  at trial. By reason of the misconduct detailed herein, Defendants are liable pursuant to 14(a) of

  the Exchange Act and SEC Rule 14a-9.

                                               COUNT II

    On Behalf of Plaintiffs and the Class Against the Individual Defendants for Violations of
                                Section 20(a) of the Exchange Act

            97.   Plaintiffs incorporate each and every allegation set forth above as if fully set forth

  herein.

            98.   The Individual Defendants acted as controlling persons of Vectren within the

  meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

  directors of Vectren, and participation in and/or awareness of the Vectren’s operations and/or

  intimate knowledge of the incomplete and misleading statements contained in the Proxy filed with

  the SEC, they had the power to influence and control and did influence and control, directly or




                                                   39
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 40 of 42 PageID #: 1911



  indirectly, the decision making of Vectren, including the content and dissemination of the

  statements that Plaintiffs contends are materially incomplete and misleading.

         99.     Each of the Individual Defendants was provided with or had unlimited access to

  copies of the Proxy and other statements alleged by Plaintiffs to be misleading prior to and/or

  shortly after these statements were issued and had the ability to prevent the issuance of the

  statements or cause the statements to be corrected.

         100.    In particular, each of the Individual Defendants had direct and supervisory

  involvement in the day-to-day operations of Vectren, and, therefore, is presumed to have had the

  power to control or influence the particular transactions giving rise to the Exchange Act violations

  alleged herein, and exercised the same. The omitted information identified above was reviewed

  by the Board prior to voting on the Merger.           The Proxy at issue contains the unanimous

  recommendation of the Board to approve the Merger. The Individual Defendants were thus

  directly involved in the making of the Proxy.

         101.    In addition, as the Proxy sets forth at length, and as described herein, the Individual

  Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

  Proxy purports to describe the various issues and information that the Individual Defendants

  reviewed and considered. The Individual Defendants participated in drafting and/or gave their

  input on the content of those descriptions.

         102.    By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

  of the Exchange Act.

         103.    As set forth above, the Individual Defendants had the ability to exercise control

  over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

  their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these




                                                   40
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 41 of 42 PageID #: 1912



  defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

  result of the dissemination of the misleading Proxy Defendants used to obtain shareholder approval

  of the Merger, Plaintiff and the Class have suffered damages and actual economic losses (i.e. the

  difference between the value they received as a result of the Merger and the true value of their

  shares prior to the Merger) in an amount to be determined at trial.

                                       RELIEF REQUESTED

          WHEREFORE, Plaintiffs pray for judgment and relief as follows:

      A. Declaring that this action is properly maintainable as a Class Action and certifying

  Plaintiffs as Class Representatives and their counsel as Class Counsel;

      B. Awarding Plaintiffs and the Class compensatory and/or rescissory damages sustained as a

  result of Defendants’ wrongdoing, including, but not limited to, pre-judgment and post-judgment

  interest;

      C. Awarding Plaintiffs and the Class the costs and disbursements of this action, including

  reasonable attorneys’ and expert fees and expenses;

      D. Awarding extraordinary, equitable and/or injunctive relief as permitted by law, equity, and

  the federal statutory provisions sued hereunder; and

      E. Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

          Plaintiffs demand a trial by jury.




                                                  41
Case 3:18-cv-00113-RLY-MPB Document 64 Filed 10/29/18 Page 42 of 42 PageID #: 1913



  DATED: October 29, 2018                              Respectfully submitted,

  OF COUNSEL                                           /s/ Jason A. Shartzer
                                                       Jason A. Shartzer, Atty. No. 23989-49
  MONTEVERDE & ASSOCIATES PC
  Juan E. Monteverde                                   SHARTZER LAW FIRM, LLC
  Miles D. Schreiner                                   156 E. Market Street
  The Empire State Building                            10th Floor, Suite 1000
  350 Fifth Avenue, Suite 4405                         Indianapolis, IN 46204
  New York, NY 10118                                   (317) 969-7600
  Tel.: (212) 971-1341                                 (317) 969-7650 Fax
  Fax: (212) 202-7880                                  Email: jshartzer@shartzerlaw.com
  Email: jmonteverde@monteverdelaw.com
          mschreiner@monteverdelaw.com                 Local Counsel for Lead Plaintiffs and the
                                                       Putative Class
  Counsel for Lead Plaintiffs Kuebler and
  Danigelis and Lead Counsel for the Putative
  Class

  ADEMI & O’REILLY, LLP
  Guri Ademi
  Shpetim Ademi
  3620 East Layton Ave.
  Cudahy, WI 53110
  Tel: (414) 482-8000
  Fax: (414) 482-8001
  E-mail: gademi@ademilaw.com
          sademi@ademilaw.com

  Counsel for Lead Plaintiffs Kuebler and
  Danigelis and Lead Counsel for the Putative
  Class

  WEISSLAW LLP
  Richard A. Acocelli
  Michael A. Rogovin
  Kelly C. Keenan
  1500 Broadway, 16th Floor
  New York, NY 10036
  Tel.: (212) 682-3025
  Fax: (212) 682-3010

  Counsel for Lead Plaintiff Nisenshal and Lead
  Counsel for the Putative Class




                                                  42
